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                            UNITED STATES DISTRICT COURT
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                         SOUTHERN DISTRICT OF CALIFORNIA
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9     UNITED STATES OF AMERICA                    )     Case No. 15CR3111-H
                                                  )
10                              Plaintiff,        )     ORDER TO DISMISS THE
                                                  )     PETITION TO REVOKE
11                 v.                             )     SUPERVISED RELEASE AND
                                                  )     RECALL ARREST WARRANT
12    GUILLERMO BARBA SOLORZANO,                  )
                                                  )
13                              Defendant.        )
                                                  )
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15         IT IS HEREBY ORDERED that the Petition to Revoke Supervised Release in the
16   above-entitled case as to Defendant Guillermo Barba Solorzano be dismissed without
17   prejudice, and the arrest warrant be recalled.
18         IT IS SO ORDERED.
19         DATED: 4/6/2023
                                                      HONORABLE MARILYN L. HUFF
20                                                    UNITED STATES DISTRICT JUDGE
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